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                           United States District Court
                           Southern District of Florida

   United States of America,             )
   Plaintiff                             )
                                         )
   v.                                    ) Criminal Case No. 19-20450-CR-Scola
                                         )
   Alex Nain Saab Moran,                 )
   Defendant.                            )

                                        Order
         This matter is before the Court on the parties’ joint motion to vacate and
  continue the motion briefing schedule concerning the Defendant’s motion related
  to diplomatic immunity. (ECF No. 113.)
         Having reviewed the parties’ submission, the Court grants the motion and
  vacates the briefing schedule established at ECF No. 106.
         The Court maintains the status conference set for July 15, 2022 at 9:15
  A.M. and the evidentiary hearing concerning the Defendant’s motion set for
  August 29, 2022 at 9:00 A.M. The Court will enter a revised briefing schedule
  after the status conference.
         Done and ordered at Miami, Florida, on July 5, 2022.

                                             ___________________________
                                             Robert N. Scola, Jr.
                                             United States District Judge
